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                                                                 1 SMILEY WANG-EKVALL, LLP
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                                                                 2 rmarticello@swelawfirm.com
                                                                   Timothy W. Evanston, State Bar No. 319342
                                                                 3 tevanston@swelawfirm.com
                                                                   3200 Park Center Drive, Suite 250
                                                                 4 Costa Mesa, California 92626
                                                                   Telephone:    714 445-1000
                                                                 5 Facsimile:    714 445-1002

                                                                 6 Attorneys for Donald Chae, Debtor-in-Possession

                                                                 7

                                                                 8                            UNITED STATES BANKRUPTCY COURT

                                                                 9                             CENTRAL DISTRICT OF CALIFORNIA

                                                                10                                      SANTA ANA DIVISION

                                                                11 In re                                               Case No. 8:21-bk-12493-ES
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002




                                                                12 DONALD CHAE,                                        Chapter 11
                            3200 Park Center Drive, Suite 250
                              Costa Mesa, California 92626




                                                                13          Debtor and Debtor-in-Possession.           AMENDED NOTICE OF MEETING OF
                                                                                                                       CREDITORS PURSUANT TO 11 U.S.C.
                                                                14                                                     § 341(a)

                                                                15                                                     Date:    November 19, 2021
                                                                                                                       Time:    10:00 a.m.
                                                                16

                                                                17               TO ALL INTERESTED PARTIES:
                                                                18         PLEASE TAKE NOTICE that the meeting of creditors pursuant to 11 U.S.C. § 341(a)
                                                                   currently scheduled for November 8, 2021 will now take place on November 19, 2021, at 10:00
                                                                19 a.m. The meeting will take place telephonically. Participants can call in to the following number
                                                                   to attend the meeting:
                                                                20
                                                                                 Telephone: (866) 919-0527
                                                                21
                                                                                 Participant Code: 2240227
                                                                22
                                                                   DATED: October 15, 2021                 SMILEY WANG-EKVALL, LLP
                                                                23

                                                                24

                                                                25                                             By:          /s/ Robert S. Marticello
                                                                                                                     ROBERT S. MARTICELLO
                                                                26                                                   Attorneys for Donald Chae, Debtor-in-Possession
                                                                27

                                                                28


                                                                     2888171.1                                        1                             AMENDED NOTICE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626

A true and correct copy of the foregoing document entitled (specify): AMENDED NOTICE OF MEETING OF CREDITORS
PURSUANT TO 11 U.S.C.§ 341(a) will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 15,2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 15,2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Hon. Edith Smith
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5040 / Courtroom 5A
Santa Ana, CA 92701-4593
                                                                                           Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                           Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 15,2021 Gabriela Gomez-Cruz                                                           /s/ Gabriela Gomez-Cruz
 Date               Printed Name                                                               Signature
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

         Timothy W Evanston tevanston@swelawfirm.com,
          gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
         Amir Gamliel amir-gamliel-9554@ecf.pacerpro.com, cmallahi@perkinscoie.com;DocketLA@perkinscoie.com
         Nancy S Goldenberg nancy.goldenberg@usdoj.gov
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         Patricia H Lyon phlyon@frenchlyontang.com, mwoodward@frenchlyontang.com
         Robert S Marticello Rmarticello@swelawfirm.com,
          gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
         Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
         United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov



SERVED BY UNITED STATES MAIL:



Master Mailing List

3D DESIGN INDUSTRIES, INC.                         6555 BEACH LLC                                      AMERICREDIT FINANCIAL SERVICS DBA GM
8152 INDIANAPOLIS AVENUE                           6988 BEACH BLVD B‐215                               FINANCIAL
HUNTINGTON BEACH, CA 92646‐5008                    BUENA PARK, CA 90621‐6822                           PO BOX 183853
                                                                                                       ARLINGTON TX 76096‐3853



AT&T                                               ABRA LENDING INC.                                   AMERICAN INTEGRATED RESOURCES INC.
2150 WEBSTER STREET ROOM 401                       10100 CULVER CITY BLVD SUITE D                      2341 NORTH PACIFIC STREET
OAKLAND, CA 94612‐3012                             CULVER CITY, CA 90232                               ORANGE, CA 92865‐2601

ARAGON CONSTRUCTION INC.                           ATHENS SERVICES                                     BANK OF AMERICA
5440 ARROW HIGHWAY                                 PO BOX 60009                                        PO BOX 982238
MONTCLAIR, CA 91763‐1604                           CITY OF INDUSTRY, CA 91716‐0009                     EL PASO TX 79998‐2238



BMW FINANCIAL SERVICES                             BEACH ORANGETHORPE HOTEL II, LLC                    BEACH ORANGETHORPE HOTEL III, LLC
CUSTOMER SERVICE CENTER                            6988 BEACH BOULEVARD, SUITE B‐215                   6988 BEACH BOULEVARD, SUITE B‐215
PO BOX 3608                                        BUENA PARK, CA 90621‐6822                           BUENA PARK, CA 90621‐6822
DUBLIN OH 43016‐0306



BEACH ORANGETHORPE HOTEL, LLC                      BEACH ORANGETHORPE II, LLC                          BEACH ORANGETHORPE INVESTORS, LLC
6988 BEACH BOULEVARD, SUITE B‐215                  C/O CT CORPORATION SYSTEM                           6940 BEACH BLVD, SUITE D‐301
BUENA PARK, CA 90621‐6822                          3705 W. PICO BLVD. PMB 22555                        BUENA PARK, CA 90621‐6827
                                                   LOS ANGELES, CA 90019‐3451

BEACH ORANGETHORPE OFFICE, LLC                     BEACH ORANGETHORPE SOURCE, LLC                      BEACH ORANGETHORPE VI, LLC
6988 BEACH BOULEVARD, SUITE B‐215                  C/O CT CORPORATION SYSTEM                           6940 BEACH BLVD, SUITE D‐301
BUENA PARK, CA 90621‐6822                          3705 W. PICO BLVD PMB 22555                         BUENA PARK, CA 90621‐6827
                                                   LOS ANGELES, CA 90019‐3451

BEACH ORANGETHORPE VII, LLC                        BEACH ORANGETHORPE VENTURES, LLC                    BEACH ORANGETHORPE, LLC
6960 BEACH BLVD, SUITE J‐205                       C/O CT CORPORATION SYSTEMS                          C/O CT CORPORATION SYSTEMS
BUENA PARK, CA 90621‐6848                          3705 W PICO BLVD. PMB 22555                         3705 W PICO BLVD PMB 22555
                                                   LOS ANGELES, CA 90019‐3451                          LOS ANGELES, CA 90019‐3451




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BEST QUALITY PAINTING                              BOCH MANAGEMENT, INC.                               CWCAPITAL ASSET MANAGEMENT
818 N. PACIFIC AVENUE #C                           3225 E. ABBEY LANE                                  ATTN: ARIEL LEVIN/JAKE HAMEL
GLENDALE, CA 91203‐3633                            ORANGE, CA 92867‐2009                               900 19TH STREET NW, 8TH FLOOR
                                                                                                       WASHINGTON, DC 20006‐2127

CALIFORNIA AMERICAN WATER                          CHRISTOPHER MARTINEZ                                COUNTY OF ORANGE
PO BOX 7150                                        C/O LAW OFFICE OF MORSE MEHRBAN                     ATTN: TREASURER‐TAX COLLECTOR
PASADENA, CA 91109‐7150                            15720 VENTURA BLVD, SUITE 306                       P.O. BOX 1438
                                                   ENCINO, CA 91436‐2989                               SANTA ANA, CA 92702‐1438

UNITED BUSINESS BANK                               DIRECTV LLC                                         DSNB MACY S
BUENA PARK OFFICE                                  ATTN BANKRUPTCIES                                   CITIBANK
C/O YGNACIO VALLEY ROAD, SUITE 200                 PO BOX 6550                                         1000 TECHNOLOGY DRIVE MS 777
WALNUT CREEK, CA 94596                             GREENWOOD VILLAGE CO 80155‐6550                     O FALLON MO 63368‐2222
                                                   PREFERRED                                           PREFERRED

DAVID S KIM                                        DONALD CHAE                                         EMPLOYMENT DEVELOPMENT DEPT.
500 S VIRGIL AVENUE SUITE 201                      2200 SHERWOOD ROAD                                  BANKRUPTCY GROUP MIC 92E
LOS ANGELES, CA 90020‐1449                         SAN MARINO, CA 91108‐2851                           P.O. BOX 826880
                                                                                                       SACRAMENTO, CA 94280‐0001

FRANCHISE TAX BOARD                                YG ENTERTAINMENT                                    GAP VISA/SYNCHRONY BANK
BANKRUPTCY SECTION MS: A‐340                       17, SEOLLEUNG‐RO 152‐GIL                            PO BOX 960017
P.O. BOX 2952                                      GANGNAM‐GU, SEOUL                                   ORLANDO, FL 32896‐0017
SACRAMENTO, CA 95812‐2952                          REPUBLIC OF KOREA 06014

GLENDALE PLUMBING & FIRE SUPPLY                    GREENBERG TRAURIG, P.A.                             HANMI BANK
11120 SHERMAN WAY                                  ATTENTION: LAURA GANGEMI VIGNOLA                    5245 BEACH BLVD, 1ST FLOOR
SUN VALLEY, CA 91352‐4949                          333 SE 2ND AVENUE                                   BUENA PARK, CA 90621‐1286
                                                   MIAMI, FL 33131‐3238

HARVEST SMALL BUSINESS FINANCE                     HO BIN NHIN                                         HUNT ORTMANN PALFFY NIEVES, ET AL
24422 AVENIDA DE LA CARLOTA #232                   5230 SEREND DRIVE                                   301 NORTH LANE AVENUE, 7TH FLOOR
LAGUNA HILLS, CA 92653‐3668                        TEMPLE CITY, CA 91780‐3061                          PASADENA, CA 91101‐5118

INA                                                RALPHS MASTERCARD                                   INTERNAL REVENUE SERVICE
C/O MITCHELL S. KIM                                US NATIONAL BANK ASSOCIATION                        PO BOX 7346
K&L GATES LLP                                      P.O. BOX 790408                                     PHILADELPHIA, PA 19101‐7346
10100 SANTA MONICA BLVD 8TH FLOOR                  SAINT LOUIS, MO 63179‐0408
LOS ANGELES, CA 90067‐4104

LOS ANGELES COUNTY TREASURER AND TAX               LAW OFFICES OF DENNIS G. GOSSO                      LAW OFFICES OF YOHAN LEE
COLLECTOR                                          345 OXFORD DRIVE                                    5681 BEACH BLVD., 7TH FLOOR
ATTN BANKRUPTCY UNIT                               ARCADIA, CA 91007‐2642                              BUENA PARK, CA 90621‐2097
PO BOX 54110
LOS ANGELES CA 90054‐0110



M & D PROPERTIES                                   MANH THONG NGUYEN                                   MIN SEOK CHAE
6940 BEACH BOULEVARD                               10091 BERNADETTE AVENUE                             7156 INDIGO WAY
BUENA PARK, CA 90621‐3484                          BUENA PARK, CA 90620‐4326                           BUENA PARK, CA 90621‐3870

MIRAE CONSTRUCTION CO.                             NATIXIS, NEW YORK BRANCH                            NATIXIS, NEW YORK BRANCH
2222 S BROADWAY                                    1251 AVENUE OF THE AMERICAS                         ATTENTION: REAL ESTATE ADMINISTRAT
LOS ANGELES, CA 90007‐1434                         NEW YORK, NY 10020‐1104                             1251 AVENUE OF THE AMERICAS
                                                                                                       NEW YORK, NY 10020‐1104

NORTHSTAR DEMOLITION & REMEDIATION                 OPEN BANK                                           PDG WALLCOVERINGS
404 NORTH BERRY STREET                             COMMERCIAL LOAN CENTER III                          26492 VIA JUANITA
BREA, CA 92821‐3104                                1000 WILSHIRE BOULEVARD, SUITE 100                  MISSION VIEJO, CA 92691‐1954
                                                   LOS ANGELES, CA 90017‐5644


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PACIFIC CITY BANK                                  PAN PACIFIC MECHANICAL                              PERKINS COLE LLP
WESTERN BRANCH                                     18250 EUCLID STREET                                 ATTN. LIANA W. SPENDLOVE
450 S WESTERN AVE, SUITE 213                       FOUNTAIN VALLEY, CA 92708‐6112                      2901 N. CENTRAL AVE, SUITE 2000
LOS ANGELES, CA 90020‐4239                                                                             PHOENIX, AZ 85012‐2740

PERKINS COLE LLP                                   PLAMEX INVESTMENT LLC                               PLAMEX INVESTMENT, LLC
ATTN: MARK BIRNBAUM                                6988 BEACH BOULEVARD SUITE B‐215                    3100 EAST IMPERIAL HIGHWAY
1888 CENTURY PARK EAST, SUITE 1700                 BUENA PARK, CA 90621‐6822                           LYNWOOD, CA 90262‐3202
LOS ANGELES, CA 90067‐1721

PLAZA MEXICO RESIDENCES II LLC                     PLAZA MEXICO RESIDENCES LLC                         PREFERRED BANK
PO BOX 489                                         PO BOX 489                                          17515 COLIMA ROAD
BUENA PARK, CA 90621‐0489                          BUENA PARK, CA 90621‐0489                           CITY OF INDUSTRY, CA 91748‐1859

PRIME CONCRETE COATINGS                            QUANG CUONG NGUYEN                                  QUANG D TRAN
6127 JAMES ALAN STREET                             8200 BOLSA AVE SPC 58                               8200 BOLSA AVE SPC 58
CYPRESS, CA 90630‐3929                             MIDWAY CITY, CA 92655‐1231                          MIDWAY CITY, CA 92655‐1231

QUARRY HEAD 2017‐1 GRANTOR TRUST                   QUINTUS INVESTMENT MANAGEMENT                       RHRG INVESTMENTS INC.
C/O WATERFALL ASSET MANAGEMENT LLC                 HONG KONG) LIMITED                                  119 CRUISER
1140 AVENUE OF THE AMERICAS 7TH FL                 ROOM 1704A, TWR 2, ADMIRALTY CENTRE                 IRVINE, CA 92618‐0832
NEW YORK, NY 10036‐5803                            ADMIRALTY, HONG KONG

ROBINSON & ROBINSON LLP                            SECURITIES & EXCHANGE COMMISSION                    SHADY BIRD LENDING LLC
2301 DUPONT DRIVE, SUITE 530                       444 SOUTH FLOWER ST., SUITE 900                     C/O LAW OFFICES OF GEOFFREY LONG
IRVINE, CA 92612‐7502                              LOS ANGELES, CA 90071‐2934                          1601 N. SEPULVEDA BLVD, NO. 729
                                                                                                       MANHATTAN BEACH, CA 90266‐5111

SHADY BIRD LENDING LLC                             WOORI AMERICA BANK                                  SIERRA WEST FINISH INC.
C/O LAW OFFICES OF RONALD RICHARDS                 330 FIFTH AVENUE, 3RD FLOOR                         654 S LINCOLN AVE
P.O. BOX 11480                                     NEW YORK, NY 10001‐3101                             SAN BERNARDINO, CA 92408‐2229
BEVERLY HILLS, CA 90213‐4480

SKYPASS (US BANK)                                  SMALL BUSINESS ADMINISTRATION                       SOCALGAS
200 SOUTH SIXTH STREET                             OFFICE OF DISASTER ASSISTANCE                       PO BOX C
MINNEAPOLIS, MN 55402‐1445                         14925 KINGSPORT ROAD                                MONTEREY PARK, CA 91754‐0932
                                                   FORT WORTH, TX 76155‐2243

SONAMU HOLDINGS LLC                                SOUTHERN CALIFORNIA EDISON                          SPECTRUM
6940 BEACH BOULEVARD, SUITE D‐301                  PO BOX 6400                                         PO BOX 60074
BUENA PARK, CA 90621‐6827                          RANCHO CUCAMONGA, CA 91729‐6400                     CITY OF INDUSTRY, CA 91716‐0074

SQUAREMIXX                                         THE SOURCE HOTEL LLC                                THE SOURCE OFFICE, LLC
C/O W. DAN LEE                                     6988 BEACH BOULEVARD SUITE B‐215                    6988 BEACH BOULEVARD SUITE B‐215
LEE LAW OFFICE                                     BUENA PARK, CA 90621‐6822                           BUENA PARK, CA 90621‐6822
725 S. FIGUEROA STREET #3065
LOS ANGELES, CA 90017‐5430

THE SOURCE TOWER & RESIDENCES, LLC                 THE SOURCE AT BEACH, LLC                            THI HOA NGUYEN
3100 E. IMPERIAL HIGHWAY                           3100 E. IMPERIAL HIGHWAY                            5391 LAVERNE CIR
LYNWOOD, CA 90262‐3202                             LYNWOOD, CA 90262‐3202                              WESTMINSTER, CA 92683‐1702

UNITI BANK                                         WF 1105, LLC                                        WF I105, LLC
6301 BEACH BOULEVARD, SUITE 100                    C/O WATERFALL ASSET MANAGEMENT, LLC                 C/O WATERFALL ASSET MANAGEMENT, LLC
BUENA PARK, CA 90621‐4032                          ATTN: GENERAL COUNSEL                               ATTN: GENERAL COUNSEL
                                                   1140 AVENUE OF THE AMERICAS, 7TH FL                 1140 AVENUE OF THE AMERICAS, 7TH FL
                                                   NEW YORK, NY 10036‐5803                             NEW YORK, NY 10036‐5803




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WELLS FARGO BANK, N.A., AS TRUSTEE                 WELLS FARGO BANK, NATIONAL ASSOCIATION, AS T        WINSTON & STRAWN, LLP
MORGAN STANLEY CAP I TRUST 2016‐UBS                PERKINS COIE LLP                                    ATTENTION: COREY A. TESSLER
9062 OLD ANNAPOLIS ROAD                            AMIR GAMLIEL                                        200 PARK AVENUE
COLUMBIA, MD 21045‐2479                            1888 CENTURY PARK EAST, SUITE 1700                  NEW YORK, NY 10166‐4002
                                                   LOS ANGELES, CA 90067‐1721




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